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Toct# 1727zZ1S062 Fee F40.60

RELEASE DEED

CAUTION: Consult a lawyer before using or acting

under this iorm. Neither the publisher nor the setler of RHSP FEE:$9.0@ RPRF FEE: $1.00

this form makes any warranty with respect thereto, I 1
including any warranty of merchantability or fitness for a KAREN 9. YARBROUGH

particular purpose.

COOK COUNTY RECORDER OF DEEDS
DATE: 0972972617 3:48 PM «PG: 1 OF 2

 

 

Know all men by these presents, that EQUITYBUILD, INC. for and in consideration of TEN DOLLARS ($10.00) and for
other good and valuable considerations, the receipt of which is hereby confessed, does hereby remise, convey, release and quit-
claims unto EQUITYBUILD FINANCE, LLC of the County of COLLIN, State of TEXAS, all rights, title, interest, claim
or demand whatsoever he/she may have acquired in, through or by a certain Mortgage bearing the date of 02/21/2014 Recorded in
the Recorder's Office of COOK County in the State of Illinois, on 10/29/2015 as Document Number 1602156231 , the premises
therein described, situated in the County of COOK and the State of Illinois as follows, to-wit:

See attached Legal Description

(PIN): 20-25-310-009-0060
Commonly Knownas: 7635 8S East End, Chicago, [L

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EQUITY BUILD FINANCE, LLC

State of:_|

  

County of:

s }. the ene Notary Public in and for said County in the State aforesaid Do Certify that,
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un DA ern , personally known to me have signed
and delivered the said Me as his/her free and are act for the uses and purposes therein set forth.

Given under my hand and Notarial Sea] on Sf 18,20 of)

JEROME M TAYLOR ‘fa
Notary Public, State of New York
Registration #01TA6§328106
Qualified In New York County
Commission Expires July 27, 2019 .

FOR THE PROTECTION OF THE OWNER, THIS RELEASE NEEDS TO BE FILED WITH THE RECORDER OF DEEDS
IN WHOSE OFFICE THE MORTGAGE OR DEED OF TRUST WAS FILED,

 

 

 

 

 

 
1727219062 Page: 2 of 2

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Legal Description
of premises commonly known as 7635 S East End. Chicago, IL 60649
The North 14 feet of Lot 32, and all of Lots 33, 34, 35 and 36 (except the North 6 feet thereof) in Block 11 in James

Stinson's Subdivision of East Grand Crossing in the Southwest quarter of Section 25, Township 38 North, range 15,
East of the third principal meridian, in Cock county, Illinois.

PERMANENT TAX NUMBER: 20-25-310-009-0000

COOK COUNTY
RECORDER OF DEEDS

Prepared by and Mail to:
EquityBuild Finance, LLC
5068 W. Plano Road, #300

Plano, TX 75093 COCK COU NTY
RECORDER OF DEEDS

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